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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

               V.                                         24-CR-104


NICHOLAS BLOOM,

                       Defendant.



        ORDER FOR PSYCHOLOGICAL / PSYCHIATRIC EXAMINATION


               As stated on the record on August 15, 2024, based on the government's Motion

For Hearing To Determine The Defendant's Mental Competency (Doc. 11) and

representations of counsel, this Court fmds that there is reasonable cause to believe that the

defendant may presently be suffering from a mental disease or defect to the extent that he is

unable to understand the nature and consequences ofthe proceedings against him and to assist

properly in his defense. Accordingly, it is

               ORDERED,that a psychiatric or psychological examination of the defendant

shall be conducted, pursuant to 18 U.S.C. § 4241(b), and the govemment shall provide any

necessary information to facilitate that examination, and a report of that determination shall

be filed with the Court and served upon counsel for both parties in accordance with 18 U.S.C.

§ 4247(b) and (c); and it is further

               ORDERED,that pursuant to § 4247(b), the defendant, NICHOLAS BLOOM,

is committed to the custody ofthe Attorney General for placement at a suitable facility designed

by the Bureau of Prisons ("BOP") for a reasonable period not to exceed thirty (30) days for

such a psychiatric or psychological examination to determine his current mental competence;
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and it is further


                ORDERED, that the United States Marshal's service shall transport the

defendant to the institution so designated by the BOP for the required examination; and it is

further


                ORDERED, that defense counsel and government counsel be given the

opportunity to provide to the examiner whatever information, documents, medical reports, or

other materials regarding the defendant in order to assist the BOP medical staff in evaluating

the defendant; and it is further

                ORDERED, that the period of time, extending from August 15, 2024, to the

conclusion of all proceedings necessary to determine the mental competency ofthe defendant

shall be excluded from the time period specified in the Speedy Trial Act, 18 U.S.C. § 3161 et.

seq. pursuant to § 3161(h)(1)(A); and it is further

                ORDERED, that at the conclusion of the psychiatric or psychological

examination, the defendant shall remain in the custody ofthe United States Marshal, pending

further proceedings.




                                            HqrN. H. KENNETH SCHROEDER,JR.
                                            United States Magistrate Judge

Dated: August /£_, 2024
          Buffalo, New York.
